  Case 3:10-cr-00188-REP Document 59 Filed 09/22/10 Page 1 of 4 PageID# 148



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIR
                                RICHMOND DIVISION


                                                                                 SEP2 2 20I0        &
UNITED STATES OF AMERICA,
                                                                            CLKFlK. US. DiS'iRiCT COURT
                                                                                   RICHMOND VA


v*                                                       CASE NO. 3:10CR00188-01

JOSE de JESUS SALINAS-CASTILLO,
                       Defendant.



            REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon

the Defendant's request to enter a pies of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that he consented to not only having the Magistrate Judge conduct the

hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate Judge

make necessary findings and accepting any guilty plea as may be entered that could not be

withdrawn except for fair and just reason.

        The Defendant pled guilty to Count One of the Indictment in open court and pursuant to

a Rule 11 inquiry. Upon consideration of the responses and statements made by the Defendant

under oath, on the record, and based upon the written plea agreement and statement of facts

presented, the court makes the following findings:

       1.      Thai the Defendant is competent to enter a plea of guilty;

       2.      Thai the Defendant understands the nature of the charge against him to which his
Case 3:10-cr-00188-REP Document 59 Filed 09/22/10 Page 2 of 4 PageID# 149



          plea is offered;


    3.    That the Defendant understands what the maximum possible penalties are upon

          conviction of the offense charged, including any mandatory minimum periods of

          confinement, the effect of any required term of supervised release, the loss of

          various civil rights (if applicable, including the right to vote, the right to hold

          public office, the right to own and possess a firearm), the possibility of adverse

          immigration consequences (if applicable), the required imposition of a special

          assessment, forfeiture of real and/or personal property (if applicable), and

          restitution (if applicable);


    4.    That the sentencing court has jurisdiction and authority to impose any sentence

          within the statutory maximums provided, that the court can reject any agreement

          by the parties as to drug quantity and/or sentencing factors, and that the court will

          determine the defendant's actual sentence in accordance with 18 U.S.C. § 3553(a)

          and that the court, after considering the factors set forth in 18 U.S.C. § 3553(a),

          may impose a sentence above or below the advisory sentencing range, subject

          only to review by higher courts for reasonableness;

    5.    That the Defendant understands his right to persist in a plea of not guilty and

          require that the matter proceed to trial with all the rights and privileges attending a

          trial, including, but not limited to: the right to effective assistance of counsel; the

          right to use the power and processes of the court to compel evidence on the

          Defendant's behalf; the right to confront and cross-examine adverse witnesses; the

          right to present relevant evidence; the right to remain silent; and the right to trial

          by jury;
 Case 3:10-cr-00188-REP Document 59 Filed 09/22/10 Page 3 of 4 PageID# 150



        6.     That the Defendant understands that he is waiving any right to appeal whatever

               sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

               as said sentence does not exceed the total statutory penalties provided;

        7.     That the Defendant understands all provisions of the written plea agreement

               which was reviewed in essential part with the Defendant during the proceeding;

       8.      That the pies of guilty entered by the Defendant was knowingly and voluntarily

               entered and is not the result of force or intimidation of any kind; nor is it the result

               of any promises other than the representations set forth in the plea agreement; and

       9.      That the pies of guilty entered by the Defendant was knowingly and voluntarily

               made with full knowledge of the consequences and with an independent basis in

               fact to support said pies.

       Accordingly, the court accepted the Defendant's pies of guilty to Count One of the

Indictment and entered judgment of guilt on the subject charge. It is therefore the

recommendation of this court that its findings, including the acceptance of the Defendant's pies

of guilty and resulting judgment of guilt, be adopted.




                                                           /s/
                                                    M. Hannah Lauck
                                                    United States Magistrate Judge


Dated: September 2£. 2010
 Case 3:10-cr-00188-REP Document 59 Filed 09/22/10 Page 4 of 4 PageID# 151




                                           NOTICE


       The Defendant is advised that he/she may file specific written objection to this

report and recommendation with the court within fourteen (14) days of this date. If

objection is noted, the party objecting must promptly arrange for the transcription of the

relevant record and file it forthwith with the court for its use in any review. Failure to

object in accordance with this notice, including the requirement for preparation of a

transcription of the relevant portions of the record, will constitute a waiver of any right to

de novo review of the matter and may result in adoption of the recommendation, including

the finding of guilt as entered by the magistrate judge.
